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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA
DAVENPORT DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

KUKA WADLINGTON,

ORIGINAL

)
)
)
)
vs. ) NO. 98-242
)
)
)
Defendant. )

United States Courthouse
Davenport, Iowa 52801

Hearing commenced at 10:18 a.m., February 12,
1999.

BEFORE: Thomas J. Shields, Federal Magistrate

REPORTER: Beverly K. Bleigh (via tape recording)
Certified Shorthand Reporter
Bettendorf, Iowa 52722

 

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SEAN McCLELLAN

 

 

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FEBRUARY 12, 1999

THE COURT: So we're ready to
proceed with the Government's Motion to Revoke
Pretrial Release. Mr. Cronk, you may proceed.

MR. CRONK: Your Honor, first of
all, I would ask that any witnesses that are
appearing here, other than Agent Dasso and Mr.
Wadlington, obviously, if he's going to testify,
be excluded from the courtroom. I'm asking for an
order sequestering witnesses.

THE COURT: I will --

MR. GOODMAN: I have no objection to
that.

THE COURT: The Court will grant the
motion excluding witnesses. Anyone here in the
courtroom who would be called as a witness or
knows that they will be called as a witness will
be required to leave the courtroom and remain
outside until summoned.

MR. CRONK: Your Honor, secondly, I
would like the Court to be aware we did a record
check this morning and found that there is an
active warrant for the arrest of Mr. Wadlington
out of Harvey, Illinois. The warrant was issued

on December 8th, 1998. I don't believe pretrial

 

 

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services was aware of this. I provided a copy of
the arrest warrant to Mr. Goodman.

THE COURT: What's the nature of it

do you know?

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,

MR. GOODMAN: I believe it's traffic

offenses, Your Honor. That's what I was informed
by the Agent. Do you know? It's for traffic

offenses, and Mr. Wadlington will take care of

that, of course, assuming he is allowed to go home

today.

MR. CRONK: Your Honor, I would like

to give you an outline of what I expect the
Government to show today.

THE COURT: By nature of opening
statement?

MR. CRONK: Yes, Your Honor.

THE COURT: Albeit briefly.

MR. CRONK: First of all, Your
Honor, I have arranged with Mr. Goodman that the
pretrial services person from Chicago, named Sean
J. McClellan, is available by telephone this

morning in his office to testify by phone.

Mr. Goodman indicated to me he had no objection to

that.

I also intend to call a Sammy

 

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Walker, who was approached -- I believe will

testify he was approached by Mr. Wadlington on the
date that Mr. Wadlington was supposed to be here
for arraignment, that would be December 10th of
1998. The Court will recall on that date that
Mr. Wadlington didn't make it to court on time and
his excuse was he got lost on his way here. I
believe the evidence will establish that that's
not what happened, that he wasn't lost or if he
was lost, it was because he got a late start after
he was looking for Mark Thomas, a Government
witness, in Clinton or speaking with Mr. Walker
about Mark Thomas in Clinton.

The Government will also put on
Kelli Sieck, who is a hostess at the Country
Kitchen in Clinton, Iowa, and she will testify on
the afternoon of January 29th, several individuals
came in together ordering large amounts of food
from Country Kitchen asking for carryout, or
asking for that stuff to be carried out of the
restaurant, and in that time they used a cellular
phone and one individual used a pay phone.

During that time period, Your Honor,
Mr. Wadlington contacted, by the pay telephone at

the Country Kitchen, a Heather Kline, or attempted

 

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to contact Heather Kline, another Government

witness, who also is the mother of one of

Mr. Wadlington's children, and a Laura Tague,
Heather Kline’s mother, took a phone call from
Mr. Wadlington and he asked for Heather Kline at
that time.

I am going to ask the Court to note
that on Friday afternoon, January 29th, Judge
Wolle directed -- and I don't believe there is any
dispute about that -- directed Mr. Wadlington to
not have any contact with any witnesses during his
release, and Heather Kline was, in fact, a
Government witness at that time.

The Government will also call as a
witness Agent Dasso and Officer Bill Greenwald.
We would expect their testimony to establish, and
other police officers' testimony to establish,
that upon learning of the caller ID phone number
on Mrs. Teague’s line when she called the police,
they determined that that phone was the phone at
the Country Kitchen.

They went to Country Kitchen, they
then started canvassing Clinton, looking for
Mr. Wadlington. They found Mr. Wadlington at the

Best Western motel in Clinton and while there,

 

 

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they observed Mr. Wadlington in the -- with a
large group of people. He had checked into room
400. He and his associates had racked up a large
bar bill, movies and long distance phone calls to
a room there. They were socializing with females,
and Mr. Goodman was not with them.

This persisted from about 10 o'clock
to about midnight, at which time Agent Dasso
believes Mr. Wadlington was informed the police
were there, that Mr. Wadlington quickly, with his
associates, packed up their belongings, got into
two separate cars and began to drive out of
Clinton.

Mr. Bill Greenwald, an inspector
with the Illinois State Police, and a police
officer with the Clinton Police Department tracked
the vehicles as they left the area. They were
going at a high rate of speed. Agent Greenwald
was able to stop Mr. Wadlington's vehicle, and at
that time, Mr. Wadlington was removed from the
vehicle, gave consent to search the vehicle.

Inside one of the bags in the
vehicle was property stolen from the Best Western
motel. Mr. Wadlington was not authorized to

drive. He was driving a leased vehicle.

 

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And the Government will also put on

that during roughly from 3 -- well, the hearing on
Friday afternoon ended at about 2:15, January
29th. At that time, Mr. Goodman indicated he
would be at the U.S. Attorney's Office by 2:45.

He arranged to meet with me and look at the
Government file at that time. At 3:30 or
thereabouts, he showed up at the U.S. Attorney's
Office and from 3:30 until 6:25 he was at the U.S.
Attorney's Office without Mr. Wadlington. So for
at least a three-, four-hour period of time,

Mr. Wadlington was unaccompanied by Mr. Goodman.

I would also ask -- and you will
hear from Sean McClellan, even though he was
advised that Mr. Wadlington, in a message left by
Mr. Goodman, that Mr. Wadlington was traveling to
Clinton, Mr. McClellan thought that he was
traveling to Clinton with Mr. Goodman and would be
accompanied by Mr. Goodman the entire time they
were there and the purpose for this trip was to
look at Clinton and drive around and see things,
and that it was not his understanding that
Mr. Wadlington would be unaccompanied by his
attorney or that he would be there with a group of

people or that he would check into a hotel or that

 

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he would have drinks or that he would otherwise be

with anyone other than Mr. Goodman.

That's what I expect to show today.

THE COURT: (Inaudible. )

MR. CRONK: I don't believe so. I
don't know. So I first ask the court clerk to
contact -- well.

THE COURT: Mr. Goodman, do you wish
to make any statement at this time?

MR. GOODMAN; Your Honor, I guess I
would like to make a brief reply.

Mr. Wadlington -- as I see it,
there's three allegations. I believe one is that
he has attempted to contact witnesses, and I just
would point out that Mr. Wadlington -- the
Government has never complied with our request to
furnish a witness list, so he has absolutely no
idea who the witnesses are, and up until I hada
few hours to look through the Government file, all
Mr. Wadlington knew was that he was charged with
drug offenses and that there were people in
federal custody who were going to testify against
him and say they bought drugs from him. He knows
that all those people are cooperating and have

been offered deals if they would testify against

 

 

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him. Doesn't know who they are, doesn't know what
they are going to say. Apparently there are some

witnesses who are not in custody who are going to
testify. He does not know who they are. It's
impossible for him to contact witnesses if he
doesn't know who they are.

Mr. Wadlington -~- I would suggest
that if any of us was facing life in prison and we
didn't know who was going to say what about us, we
would be somewhat curious. We might pick up a
phone and say, "Hey, what's up?" Mr. Wadlington
lived in Clinton, he knows a lot of people in
Clinton. I don't think that's a violation of his
bond,

Second, the fact that he had a meal
at Country Kitchen and made a phone call, I think
the evidence will show that the woman that he
tried to contact is a former girlfriend, who
actually has a child by Mr. Wadlington. That
phone call was not for the purpose of harassment.
He certainly had no information she was going to
be a witness against him or that she had been
contacted by the police.

I also believe that the evidence

will also show that the officers did not just

 

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happen to find Mr. Wadlington at the Best Western.

In fact, they had been following him around the
entire afternoon, and the evidence will also show
that the stolen property was not stolen by

Mr. Wadlington. He had no knowledge of it, and
certainly if he had known about it, he would not
have allowed that to take place, certainly while
he's on bond and strict electronic monitoring
conditions. I believe the evidence will show
these allegations are without merit.

THE COURT: I want to make some
observations (inaudible). I want to make sure we
don't get bogged down (inaudible). I would
appreciate a conciseness in the evidence. I am
not really interested in the details of meals or
the allegations maybe of socializing, if you will.
I understand there may be evidence of that.

I'm looking right now at an order
setting conditions originally entered by
Magistrate Judge Morton Denlow, Northern District
of Illinois, and in that, under paragraph 7, it
specifically states that under 7C., "The defendant
would abide by the following restrictions of his
personal associations, place of abode, or travel:

not leave Northern District of Illinois, except to

 

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attend court business in Davenport, Iowa, stay in
home under electric monitors, except to travel to
work or attend church." My copy is not very good.
So in the context of that, I understand the
necessity to (inaudible) some foundation, but I'm
not interested in a detailed explanation of what
was served, what was eaten, whatever else was
going on. The bond speaks for itself.

Now, let me also offer this other
observation, and I would like to hear about that,
because Mr. Goodman, perhaps, will argue that
(inaudible) Mr. Cronk mentioned (inaudible)
contact witnesses. I understand the explanation
of Mr. Goodman regarding the list of witnesses;
however, I want to hear the evidence as to what
Judge Wolle specifically ordered on that date,
because obviously if Judge Wolle entered that
order, it certainly is incumbent upon you to
determine if your client can comply by finding out
who the witnesses are, so I am curious and I am
interested in the scenario that surrounds the
issue of the order by Judge Wolle and disclosure
of witnesses who he ordered, when they were
disclosed.

So given those comments and response

 

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to opening statement, Mr. Cronk.

MR. GOODMAN: May I make one
comment, Your Honor, regarding the conditions of
release, because I believe it's unclear, at least
on my copy it's unclear, but it was
specifically -- there is a specific exception that
was written in in the margin that he is allowed to
visit his attorney, and I believe in the very far
right margin, that was added on, and Mr.
Wadlington has made several visits with the
knowledge of his pretrial officer, Sean McClellan,
to my office to meet with me to work on the case.

THE COURT: And I appreciate that
comment, Mr. Goodman. But all I can say is,
first, that doesn't appear on my copy, but I'm not
Saying it’s not there. In that regard, my
understanding is your office is in Cook County.

MR. GOODMAN: That's correct, in
Chicago.

THE COURT: You may call your first
witness.

MR. CRONK: We would ask the Court
to contact Sean McClellan at area code 312,
435-5793,

(The phone call was placed off the

 

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record.)
THE COURT: I would, at this time,
ask the Deputy Clerk to swear in Mr. McClellan.
SEAN McCLELLAN,
called as a witness on behalf of the
Government, being first duly sworn, was
examined and testified as follows:
THE COURT: You may proceed,
Mr. Cronk.
DIRECT EXAMINATION
BY MR. CRONK:
Q. Would you state your name and spell the
first and last names.
A. Sean McClellan, S-E-A-N,
M-C-C-L-E-L-L-A-N.
Q. Can you tell us your occupation, sir?
A. Pretrial Services Officer for the
Northern District of Illinois.
Q. Are you familiar with Euka Wadlington?
A. Yes, I am.
Q. Is he someone under your supervision
while on pretrial release?
A. Yes.
Q. Are you familiar with the conditions of

his release?

 

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A. Yes.
Q. Does he have travel restrictions?
A. Yes.
Q. Could you tell the Court whether you

discussed those restrictions with Mr. Wadlington?

A. Yes, I have.
Q. What are those restrictions?
A. (Inaudible) is that he is restricted to

the Northern District of Illinois and Davenport,

Towa.

Q. Can he go to Davenport anytime he wants
to?

A. No, only for court purposes.

Q. Do those travel restrictions include

Clinton, Iowa?

A. No. It doesn't say Clinton, Iowa,
anywhere in here.

Q. Are you comfortable Mr. Wadlington was
aware of those restrictions?

A. Yes.

Q. Can you tell us, did there come a time
recently, prior to January 29th of 1999, that you
had discussions with Mr. Wadlington about his
desire to travel to Clinton?

A. No, none.

 

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Q. Did you receive a message from anyone

asking or indicating that Mr. Wadlington would be

traveling to Clinton?

A. Yes, I did.
Q. Can you tell us about that message?
A. On January 28th, 1999, I received a

voice mail message from Defendant's attorney
indicating that the Defendant will be in court in
Davenport and will also be going to Clinton, Iowa,
as he had a court matter there, and that his
attorney (inaudible) show him around in Clinton.

Q. He told you Mr. Wadlington had a court
matter in Clinton?

A. Yes.

Q. Did you indicate to Mr. Goodman or
Mr. Wadlington that that trip was approved?

A. No, I didn't. (Inaudible) in the field
and I didn't retrieve the message until the
morning of January 30th.

Q. Can you tell us, was Mr. Wadlington on

electronic monitors at the time you were in the

field?
A. Yes, he was.
Q. Did you determine whether or not he left

the area based on your electronic monitoring

 

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equipment?
A. Yes, I did.
Q. What time did he leave the area?
A. Yes, he did leave the area.
Q. When did he leave the area, if you can
tell us?
A. Mr. Wadlington left -~ let's see.
January 29th at 3:12 in the morning.
Q. When did he return?
A. He returned -- let's see. That would be
January 30th at 5:07 a.m.
Q. When you noticed that, did you think

Mr. Wadlington was in violation of his conditions
of release?
MR. GOODMAN: Objection.
A. I knew that something had occurred.
THE COURT: I'll overrule the
objection.

A. When I received my voice mail message is
(inaudible) that he was stopped by the police and
that he was delayed in coming back and I received
a voice mail message from his attorney as well,
advising him that the Defendant had told
Mr. Goodman he had been stopped by the police and

had gotten in at (inaudible).

 

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Q. What was your understanding from “
discussing this with Mr. Wadlington whether or not
he had been with his attorney the entire time?

A. Yes. (Inaudible).

Q. How did you reach that understanding he
was with Counsel the whole time?

A. In that when I spoke to Mr. Wadlington
that morning, he indicated that (inaudible)
attorney to do some things (inaudible) Davenport
and the matter had been in Clinton.

When I spoke to Mr. Goodman -- let's see
here. That would have been on the lst of
February -- he advised me what had occurred, and
he let me know he wasn't aware -- that the trip
wasn't going to be Clinton (inaudible) quite a
while and had left him later Wednesday night.

MR. CRONK: I have no other
questions.
THE COURT: Mr. Goodman,
(inaudible).
CROSS-EXAMINATION
BY MR. GOODMAN:

Q. Mr. McClellan, this is Mr. Goodman, the

attorney for Euka Wadlington.

A. Hello.

 

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Q.

about Mr.

A.

Q.

left on your machine.

A.
Q.
A.

morning,

you indicated the Defendant was going to court.

Q.
the 28th,

A.

Q.
30th?

A.

Q.

that message?

A.

Q.

A.

Q.

Mr. Wadlington had court in Davenport, Iowa, was

I have spoken with you several times

Wadlington's bond.
Yes.

Now, you referred to a message that I

Yes.
On January 28th.
That message was on the 30th. That

January 30th. (Inaudible) 28th was that

I'm referring to the first message on
right?
Yes.

But you didn't receive it until the

Right.

You're paraphrasing your recollection of

Yes.

You didn't save it?

No.

You didn't transcribe it?
No.

You said that I informed you that

 

 

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not required to attend, but wanted to attend. Do
you recall that message?

A. Yes.

Q. I also told you that because the case
(inaudible) scene of the alleged crime was
Clinton, Iowa, that I had asked Mr. Wadlington to
show me around the town of Clinton, Iowa, and show
me some relevant places. Do you recall me leaving
that on the message?

A. That's correct.

Q. I did not tell you that he had to go to
court in Clinton, Iowa, did I?

A. No -- I recall (inaudible) because
(inaudible) Mr. Wadlington lead you to some area
you needed to know about in regard to the matter.

Q. But I never told you he had to go to

Clinton for court, did I?

A. No.

Q. I told you he had to go to Davenport to
court?

A. Yes (inaudible).

Q. Now, you said you had spoken to Euka

about this matter at some point?
A, Yes.

Q. Was that on the (inaudible) you spoke to

 

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him? When was the first time you spoke to him
about going to Clinton?

A. (Inaudible).

Q. When was it you spoke to him?

A. He was at home.

Q. After he returned?

A. Yes.

Q. So that's the first time you spoke to
him about going to Clinton?

A. Right.

Q. He hadn't talked to you about going on
the trip?

A. I don't recall.

Q. He may have mentioned (inaudible) going
to Davenport and wanted to go to Clinton?

A. I didn't get a message about that.

Q. Did you get a copy of that conversation
with Euka (inaudible)?

A. I have no knowledge of prior to going.
The only thing I know is he called and left a
message that he had court and said I will notify
(inaudible) went to court.

Q. When was the last time you spoke with
Euka prior to this trip to Davenport?

A. Let's see here. That would have been on

 

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the 25th of January.

Q. On that time, you don't recall him
mentioning he had to go to court on the 29th or
the 30th?

A. Yes, yes. Mr. Wadlington indicated he

had court Friday.

Q. . Did he talk about going to court?
A. Yes. He said he had court Friday.
Q. Was anything else involved with that

phone call?

A. No (inaudible).

Q. (Inaudible) I'm sorry.

Now, Mr. McClellan, Mr. Wadlington is

allowed to visit his attorney; is that correct?

A. Yes.

Q. That's one of the exceptions to the
restrictions of bond; is that correct?

A. Yes.

Q. And (inaudible) requirement (inaudible)
be at the attorney's office?

A. No.

Q. Is it your experience -- is it
(inaudible) visit the scene of a crime with your
client? Do you know of other attorneys who want

to do that?

 

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A. Yes.

Q. Buka's restrictions are for work,
church, court or visit his attorney; is that
correct?

A. Yes.

Q. And you've been monitoring him; is that
correct?

A. Yes.

Q. Has he -- are you aware if he's working?

A. Yes.

Q. Do you know the name of his employer?

A. Mr. Gregory Jackson.

Q. Have you met Mr. Jackson?

A. Gregory Jackson.

Q. You have met Mr. Jackson, haven't you?

A. Yes, I have.

Q. And you talk about the work he's been
doing?

A. Yes.

Q. And he's doing the work of (inaudible)

rebuilding porches or decks or something?
A. At different locations in Chicago.
Q. He works pretty long hours; is that
correct?

A. Yes, he does.

 

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Q. And he's earning money for his family “
doing that; is that correct?

A. Yes.

Q. When he says he's going to work, he does

go to work (inaudible).
MR. CRONK: Your Honor, all of this
is irrelevant.
A. (Inaudible) understanding that he
(inaudible).
THE COURT: I'll overrule the
objection.
Q. (BY MR. GOODMAN) Has he ever told you

he's going to see his attorney?

A. Yes.

Q. (Inaudible) goes to see his attorney?
A. Yes, I do.

Q. Is it true also that he has a case

pending in Clinton, Iowa?

A. Yes, it is.

Q. Do you know the nature of those charges?
A. No, I don't.

Q. And he, in fact, prior to this bond, he

has had to go to Clinton, Iowa, to attend required
court appearances there; isn't that correct?

A. Yes.

 

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Q. So he is allowed to go to Clinton to go.
to court; is that correct?
A. Yes, that's my understanding, yes.
MR. GOODMAN: I have nothing
further.
THE COURT: Thank you,
Mr. McClellan. Do you have any redirect,
Mr. Cronk?
MR. CRONK: Yes, Your Honor.
REDIRECT EXAMINATION
BY MR. CRONK:
Q. Mr. McClellan, how do you verify that
Mr. Wadlington goes to visit with his lawyer?
A. Through his caption.
Q. So you call and make sure this is what
he was doing?
A. Yes (inaudible) appointment (inaudible).

Q. On January 29th, did Mr. Goodman call
and say he had an appointment with Mr. Wadlington
somewhere?

A. On -- no, not on the 29th. I hadn't
spoke with Mr. Goodman. He left a message on
January 28th.

Q. Mr. Wadlington left the courthouse,

checked into a hotel there and waited several

 

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hours for Mr. Goodman to arrive; is that your

understanding what his conditions of release would
be?

MR. GOODMAN: I'm going to object to
the form of question, Your Honor.

THE COURT: It's overruled.

A. No. It would only be that he would be
with his attorney if they were in Clinton to
investigate whatever they had to investigate.

Q. And if Mr. Goodman met with him for a
time in Clinton and Mr. Wadlington remained after
at a hotel and socialized with friends, would that
be consistent with his conditions of release?

A. No, that wouldn't be. It would be --
(inaudible) take care of (inaudible) to Chicago.

MR. CRONK: No other questions.
MR. GOODMAN: May I, Your Honor?
THE COURT: You may.
RECROSS -EXAMINATION
BY MR. GOODMAN:

Q. Mr. McClellan, it's me again.

Mr. Cronk asked you whether traveling
alone to Clinton would be consistent with his
bond. Do you recall that question?

A. Oh, traveling, yeah (inaudible).

 

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Q. Were you aware I was not personally

driving him to court? Weren't you aware of that?

A. Yes.

Q. He was being driven by a companion of
his. Were you aware of that?

A. I knew (inaudible).

Q. And (inaudible) ?

A. No (inaudible).

Q. Therefore, is it correct that you assume

that driving from Davenport to Clinton (inaudible)

drives himself?

A. True.

Q. That was not a violation of his bond?

A. No.

QO. And (inaudible) were you that I was
going to spend -- strike that.

Mr. McClellan, if (inaudible) to defend
his client, he has to review evidence; is that
correct?

A. It's my understanding it is.

QO. (Inaudible) and in this case, if I told
you the only way (inaudible) to review evidence is
to physically go to the office of the United
States Attorney and sit with the file, that would

be appropriate for the attorney to do; is that

 

 

 

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correct?

A. Yes.

Q. And if the file is large and contains
several pages, that could take several hours to
read, even portions of the file; is that correct

MR. CRONK: I'll object, Your Hono
It's argumentive and it's certainly beyond the
scope of my examination, and it's not within a
pretrial services officer's purview to determine
what's appropriate for a defense counsel to do,
it's irrelevant.

MR. GOODMAN: He offered his
opinion as to whether his traveling alone to
Clinton and waiting there for me was a violation
of his bond. I think it is relevant (inaudible)
opinion.

THE COURT: I think Mr. McClellan'
answered the question by opinion and now we're
asking for speculation. Mr. McClellan (inaudibl
feel is appropriate in terms, so I'll sustain th
objection because it calls for a speculation.

MR. GOODMAN: I'm not going to arg
(inaudible) some of the facts.

THE COURT: My ruling stands.

Q. (BY MR. GOODMAN) Mr. McClellan,

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Mr. Cronk also asked about his remaining in the

hotel room after I had left Clinton. Do you
recall that question?

A. Yes.

Q. And your testimony was that that would
be inappropriate or that would not be consistent
with his bond for him to remain there and to
socialize?

A. Right.

Q. Would (inaudible) or friends to gather
things together, pack up their belongings and pack
up the car, would that be consistent?

A. Yes.

MR. GOODMAN: Nothing further.

MR. CRONK: Nothing further from the
Government.

THE COURT: Thank you,

Mr. McClellan. We appreciate your time.

Call your next witness.

MR. CRONK: Kelli Sieck.

MR. GOODMAN: I would be willing to
stipulate that a phone call was made from the
Country Kitchen if this will help. I don't know
if the -- to be honest, (inaudible) details of

this meal at the Country Kitchen.

 

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MR. CRONK: I asked him earlier if

he would, and he said no.

MR. GOODMAN: I said I would think
about it.

THE COURT: Well, he's now said yes.
Is there anything else that can't be accomplished
by the stipulation?

MR. CRONK: I will proffer what the
witness would say, Your Honor.

THE COURT: Why don't you proffer?

MR. CRONK: The witness is a hostess
at the Country Kitchen in Clinton, Iowa. During
the afternoon hours of January 29th, the witness
was working at the Country Kitchen when a group of
black males came in.

They ordered a large amount of food
to go. They were there for approximately an hour
or more. During the time that they were there,
one of the individuals used a cellular phone while
they were waiting. The other one used the pay
phone that was there.

The number on the pay phone the
witness has learned, and it was the same number
that appeared on another witness's phone caller

ID, so that's what this witness would testify to.

 

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I don't know if the witness can identify

Mr. Wadlington, but it appears that's stipulated

to.

MR. GOODMAN: If that would be her
testimony. I don't know who was on the cellular
phone.

THE COURT: That's what I
understood, there wouldn't be any testimony as to
the cell phone (inaudible).

MR. GOODMAN: I would stipulate he
was there and he ordered food and he made a phone
call from a pay phone.

THE COURT: That's fine. Ms. Sieck,
could you tell me how to spell your last name?

THE WITNESS: S-I-E-C-K.

THE COURT: And it's K-E-L-L --

THE WITNESS: I.

THE COURT: I appreciate your coming
down, and the attorneys have stipulated as to what
you probably would have testified to, and I
believe you're free to go. Is that correct,

Mr. Cronk?
MR. CRONK: Yes, Your Honor.
THE COURT: Thank you very much,

MR. CRONK: We call Laura Tague.

 

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LAURA TAGUE,
called as a witness on behalf of the
Government, being first duly sworn, was
examined and testified as follows:
DIRECT EXAMINATION
BY MR. CRONK:
Q. Would you state your name and spell
your last name, please.
A. Laura Tague, T-A-G-U-E.
Q. And you are living in Clinton, Iowa?
A. (Inaudible. )
Q. You should say yes or no.
A. Yes.
Q. Can you tell us, do you have a daughter?
A. Yes.
Q. Do you have a daughter named Heather
Kline?
A. Yes.
Q. Does she have any children?
A. Yes.
Q. How many?
A. (Inaudible.)
Q. Does she have a child by Euka
Wadlington?
A. Yes.

 

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Q. Do you know him?

A. A little. Not too much.

Q. Do you see him today?

A. Uh-huh (affirmative response).

Q. What's he wearing and where is he
sitting?

A. (Inaudible) red shirt.

MR. CRONK: The record should
reflect the witness has identified the Defendant.

THE COURT: The record will so
reflect.

Q. (BY MR. CRONK) Ms. Tague, were you home
during the afternoon and evening hours of January
29th, roughly two weeks ago?

A. (Inaudible. )

Q. Can you tell us, on that occasion, did

you receive a phone call from somebody you knew?

A, (Inaudible. )

Q. Who was it?

A. Buka.

Q. Tell us what was -~- what happened in

this phone call?
A, He just called me up, said was Heather
there. I said no. He said, "Do you know where

she's at?" And I said, no, I didn't. I asked who

 

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it was and (inaudible) I said she's not here and I

hung up.

Q. Then what did you do?

A. I called my daughter to let her know
(inaudible).

Q. And how often has Mr. Wadlington tried

to get ahold of Heather as far as you know?

A. That's been the first time for a long
time.

Q. What's a long time?

A. (Inaudible) years.

Q. How old is the child?

A. She'll be four in March.

MR. CRONK: No other questions.
THE COURT: Mr. Goodman, you may
cross-examine.
CROSS-EXAMINATION
BY MR. GOODMAN:

Q. When Euka called and left a message, you
didn't -- he never lodged any sort of a threat to
your daughter.

A. He didn't have to. I knew (inaudible).

Q. As far as you know, he's never tried to
threaten your daughter in any way, has he?

A. (Inaudible. )

 

 

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MR. GOODMAN: Nothing further.

REDIRECT EXAMINATION
BY MR. CRONK:
Q. What time was that call?
A. I wasn't paying much attention
(inaudible) daughter called and met me up at the

house (inaudible).

Q. How was he able to write anything down?

A. (Inaudible) caller ID and copied it down
(inaudible).

Q. Does the caller ID indicate the time

that the call came in?
A. (Inaudible.)
Q. Is that generally an accurate time

within a few minutes?

A. (Inaudible.)

Q. Can you tell us the name of the
detective?

A. Ron Heeren.

MR. CRONK: No other questions.
RECROSS -EXAMINATION
BY MR. GOODMAN:
Q. How did you happen to call Ron Heeren?
A. I called my daughter to let my daughter

know (inaudible) that (inaudible) around here

 

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(inaudible) came up to my house.
MR. GOODMAN: Thank you.
THE COURT: You may step down.
MR. CRONK: Call Heather Kline.
HEATHER KLINE,
called as a witness on behalf of the
Government, being first duly Sworn, was
examined and testified as follows:
DIRECT EXAMINATION
BY MR. CRONK:
Q. Can you tell us your name please, ma'am.
A. Heather Kline.
Q. Could you spell Kline for us?
A. K-L-I-N-E.
Q. Tell us how old you are.
A. 24.
Q. What town do you live in?
A. Clinton.
Q. Do you know Euka Wadlington?
A. Yes.
Q. Do you have a child by him?
A. Yes.
Q. Do you recall about when it was you met
Mr. Wadlington?
A. Before (inaudible) probably (inaudible).

 

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Q. Did you develop a relationship with him

after you met him?
A. (Inaudible.)
Q. Can you tell us, during the time that

you knew him, was he involved in dealing drugs?

A. (Inaudible).

Q. Do you know a Terrance Hood (phonetic)?
A. Yes.

Q. Was he involved in dealing drugs?

A. (Inaudible.)

Q. Did you know a Ulysses Burns (phonetic),

also known as (inaudible)?

A. Yes.

Q. Was he involved in dealing drugs?
A. Uh-huh (affirmative response).

Q. Did you know a Titus Crawford

(phonetic), also known as Scooby?

A. (Inaudible.)

Q. Was he involved in dealing drugs?

A. (Inaudible.)

Q. Were you present when Mr. Wadlington

attempted to get Mr. Crawford to sell drugs for
him?
MR. GOODMAN: Objection, leading.

THE COURT: I'll sustain, but

 

 

 

 

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(inaudible) what this has to do with the issue

now.

MR. CRONK: She's a witness, Your
Honor, and Mr. Wadlington knew.

THE COURT: I understand that, but
my understanding is the Motion for Revocation is
centered on activities that occurred on
January 29th and January 30th of 1999. Are you
(inaudible) with that date?

MR. CRONK: I'm showing
Mr. Wadlington's knowledge on January 29th when he
attempted to contact Ms. Kline after being
admonished by Judge Wolle that he wasn't to
contact any witness. If Mr. Wadlington knew --

THE COURT: All right, all right.
On that basis, I'll allow you to proceed, but not
with leading or suggestive questions.

Q. (BY MR. CRONK) Do you live at 1869
27th Avenue South in Clinton?

A. Yes.

Q. Can you tell us, during that time, did
you observe any contact between Mr. Wadlington and
Mr. Crawford?

MR. GOODMAN: During that time,

objection.

 

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MR. CRONK: During the time she ~
lived at 1869 - 27th Avenue South.

MR. GOODMAN: Object to the
foundation. I don't have a date for the time she

lived at that address.

THE COURT: Why don't you lay a
foundation as to when she resided at that address,
Mr. Cronk.

Q. (BY MR. CRONK) When did you live at
that address? You can just give us the year or
years.

A. (Inaudible).

Q. During that time, did you observe

contact between Mr. Wadlington and Mr. Crawford?

A. Yes.

Q. Is Mr. Crawford your boyfriend now?
A. (Inaudible.)

Q. Describe what you observed between

Mr. Wadlington and Mr. Crawford that night.
A. I don't (inaudible).
Q. Did Mr. Crawford tell you what was going
on with Mr. Wadlington?
MR. GOODMAN: Object to any hearsay
testimony, Your Honor.

Q. (BY MR. CRONK) Did you ever see

 

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Mr. Wadlington with crack cocaine?

A.

Q.

A.

Q.

(Inaudible. )

Was this before January 29th of 1999?
Yes.

What did it look like that you saw?
(Inaudible) in baggies.

How many?

I don't know.

Several?

(Inaudible. )

Have you had any contact with

Mr. Wadlington over the last year?

A.

Q.

A.

Q.

(Inaudible. )

How about the year before that?
(Inaudible. )

So '97 was the last contact?
Yeah.

Then did you get notified recently he

had attempted to contact you?

A.

Q.

that out?

A.

Q.

A.

Yeah.

What did you learn? How did you find

My mom told me.
What did you do then?

{(Inaudible.)

 

 

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A.

Q.

Al
Why did you do that?

(Inaudible.)

Did you go anywhere with the Detective

Heeren or meet with him to talk about this?

A.

(Inaudible. )

Is that the house ~-

(Inaudible.)

Is it the house where your mother lived?
(Inaudible. )

Do you know if he went to your mother's

(Inaudible.)
How do you know that?
(Inaudible.)

MR. CRONK: I don't have any other

questions.

THE COURT: Cross-examine,

Mr. Goodman?

MR. GOODMAN: Thank you, Your Honor.

CROSS -EXAMINATION

BY MR. GOODMAN:

Q.

Ms. Kline, you testified, first of all,

that you haven't spoken to (inaudible)?

A.

Q.

Inaudible.

You didn't have a phone call with him

 

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sometime this past summer? He didn't call you

sometime this summer and ask about the child?

A.

Q.

"98?

payments?
A.

Q.

(Inaudible. )

So that would have been the summer of

(Inaudible. )

And you had a phone call about the

(Inaudible. )

Didn't you say you were behind on some

(Inaudible. )
Asked him to send you some money?
(Inaudible. )

Now, your boyfriend right now is a man

by the name of Crawford; is that correct?

A.

Q.

(Inaudible. )

What's his fist name?
(Inaudible. )

Is he in jail?
(Inaudible. )

Do you live together?
(Inaudible. )

But prior to that, you had a

relationship with Mr. Wadlington; is that correct?

 

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A. (Inaudible. )

Q. Did Mr. Wadlington ever mistreat you in
this relationship?

A. No.

Q. Now, you testified -- I believe first
you testified that it was your belief that

Mr. Wadlington was involved in transactions or

drug dealing when you knew him. Was that your
belief?

A. (Inaudible. )

Q. Do you Know him also to manage a club in
town?

A. (Inaudible.)

Q. What was the name of that club?

A. (Inaudible. )

Q. Did you ever go to that club?

A. (Inaudible.)

Q. When you were there, did you see Euka?

A. (Inaudible.)

Q. What was he doing when you went to that
club?

A. (Inaudible.)

Q. Was he managing the club as far as you

could tell?

A. (Inaudible. )

 

 

 

 

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Q. Ms. Kline, did you ever see him sell

drugs out of that club?

A. No.
Q. Do you ever see drugs in that club?
A. No.
Q. Euka was friends with Mr. Crawford;

that correct?

A. (Inaudible.)
Q. You testified that on one occasion you
saw Euka with some bags of crack cocaine. Is that

your testimony?

A. (Inaudible.)

Q. Was it just one occasion?

A. (Inaudible.)

Q. You're not sure?

A. (Inaudible. )

Q. And you said it was a few bags? How

many bags, if you remember?
A. (Inaudible.)
Q. How big were the bags?

A. (Inaudible.)

Q. Where was he when you saw him with these

bags of crack cocaine?

A. (Inaudible.)

Q. You're not sure, but you think it might

 

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have been at your apartment?

A. Yes.
Q. I'm sorry, I didn't get that address.
Was it on 27th Avenue? What was the address of

that apartment?

A. (Inaudible. )

Q. Camanche Avenue?

A. (Inaudible. )

Q. Did you live alone at that time?

A. No.

Q. Who were you living with?

A. (Inaudible. )

Q. What was your friend's name?

A. (Inaudible. )

Q. Just one friend?

A. Uh-huh (affirmative response).

Q. Euka would come visit you at that
apartment?

A. (Inaudible.)

Q. And one of the times he was there, he

might have had some bags of crack cocaine with
him?

A. (Inaudible.)

Q. Do you recall who else was present when

you saw him with those bags of crack cocaine?

 

 

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A. (Inaudible.)

Q. Was Amy (phonetic) there?

A. (Inaudible. )

Q. Was anyone with Euka?

A. (Inaudible.)

Q. Did -- where did he have them? Did he
have them in his pocket or his hand or a bag?

A. (Inaudible).

Q. You're pretty sure you saw some crack
cocaine in his possession on at least one
occasion?

A. (Inaudible.)

Q. Is it possible that you're mistaken
about that?

A. (Inaudible.)

Q. But you don't recall whether it was in
his hand -- I'm sorry. I don't mean to pester
you, but I want to be clear. As you sit here now,

you can't recall whether he had it in his hand or
a bag, you just recall seeing it; is that correct?

A. (Inaudible.)

Q. Do you remember any other details that
might help us?

A. (Inaudible.)

Q. Was he -- did you ever see him use

 

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cocaine?

A. No.
Q. You say you don't recall how big it was?
MR. CRONK: Asked and answered.
THE COURT: Sustained. I think we
need to move off of this subject.
Q. (BY MR. GOODMAN) After your mother
contacted you and said Euka wanted to see you, you

called Detective Heeren; is that correct?

A. Yes.

Q. Why did you call Detective Heeren?
A, (Inaudible.)

Q. Did he tell you why?

A, (Inaudible.)

Q. How many times had you talked with

Detective Heeren about Euka Wadlington?
MR. CRONK: Irrelevant.
THE COURT: Overruled.
A, (Inaudible.)
Q. He asked you about Euka's drug
activities?
A. Yes.
Q. Did he ask you about whether Euka had
ever threatened you?

A. (Inaudible.)

 

 

 

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Q. And you told him Euka had never -
threatened you; is that correct?

A. (Inaudible.)

Q. But he still told you if Euka should try

to call you, you should immediately contact him?
A. (Inaudible. )

Q. Did he tell you why you should do that?

A. No.

Q. Didn't tell you Euka was in a lot of
trouble?

A. (Inaudible.)

Q. Ever tell you that you were in trouble?

A. No.

Q. Did he tell you that your boyfriend,

Mr. Crawford, might be in trouble?
A. (Inaudible.)
MR. GOODMAN: Nothing further,
Judge.
REDIRECT EXAMINATION
BY MR. CRONK:

Q. When you were talking with Officer
Heeren, didn't you tell him that Mr. Wadlington
had tried to have Titus Crawford sell drugs for
him?

A. (Inaudible.)

 

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Q. Was that true?
A. (Inaudible.)
Q. Didn't you tell him that one of the

reasons why you didn't really want to talk to him
was because you were afraid of Mr. Wadlington?
MR. GOODMAN: I do object to the
leading questions. I don't think it's
appropriate.
THE COURT: Sustained.
Q. (BY MR. CRONK) What did you tell him
about how comfortable you were talking to him

about Mr. Wadlington?

A. (Inaudible.)

Q. Why weren't you?

A. (Inaudible.)

Q. What might happen to you if you get
involved?

MR. GOODMAN: Objection.
THE COURT: Overruled.
A. (Inaudible.)
Q. Did you hear something about what he
could do?
A. (Inaudible.)
Q. Did he tell you he could seriously hurt

you?

 

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MR. GOODMAN: Objection, leading.

Did you take a trip to Chicago to see

Mr. Wadlington?

(Inaudible.)

Did you go to (inaudible) on one

(Inaudible. )

Did you receive something to bring back?
(Inaudible.)

What was it?

(Inaudible.)

What was it in?

(Inaudible.)

Did you get directions from

Mr. Wadlington about what to do with it?

(Inaudible. )

Did he meet you back in Clinton then?
Yeah.

Did he throw something out of the trunk?
(Inaudible.)

What was it?

I don't know (inaudible). I don't know

(inaudible).

MR. CRONK: No other questions.

THE COURT: Do you have any recross,

 

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Mr. Goodman?
MR. GOODMAN: Yes, Your Honor.
RECROSS EXAMINATION
BY MR. GOODMAN:
Q. Ms. Kline, Euka's never physically
struck you, has he?
A. No.
Q. Have you ever seen him hurt anybody?
A. No.
Q. Have you ever seen him point a gun at
anybody?
A. (Inaudible.)
Q. Have you ever heard him threaten
anybody?
A. No.
Q. You said you visited him a couple times

in Chicago?

A. (Inaudible.)

Q. Do you recall when that was?

A. (Inaudible.)

Q. Where was Euka living at that time?
A. (Inaudible.)

Q. Was that your first time in Chicago?
A. (Inaudible.)

Q. You went with Tina Gostic (phonetic)?

 

 

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there?

 

 

(Inaudible. )

Did you stay with Euka?

(Inaudible.)

Yes?

{(Inaudible.)

You stayed overnight?

(Inaudible.)

When you drove back to Clinton, Euka put

in your car. Is that what your

testimony was?

{Inaudible.)
He put a laundry detergent in your car?
I don't know what it was.

But he put something that was in a

laundry detergent box in your car?

(Inaudible. )
Did he put it in the trunk?
{(Inaudible.)

Did he say anything when he put it in

{Inaudible.)
You drove back to Clinton with Tina?
(Inaudible. )

When you got back to Clinton, he met you

 

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A. (Inaudible. )

Q. When -- did he put it in your car as you

were getting ready to leave Chicago?

A. (Inaudible. )
Q. You didn't see him put it in there?
A. (Inaudible.)

MR. CRONK: (Inaudible. )

MR. GOODMAN: I didn't bring this
up. Mr. Cronk did, and I have the right to
question about it since he's making --

THE COURT: What was the question?

MR. GOODMAN: I forgot.

Q. (BY MR. CRONK) Did you see him put it

in your car?

A. (Inaudible.)

Q. How did you know it was in your car?
A. (Inaudible. )

Q. When you set out to drive back to

Clinton from Chicago, was Euka there to see you

off?

A. (Inaudible.)

Q. Where did you leave from, from his
apartment?

A. (Inaudible.)

MR. CRONK: This is not relevant

 

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now.
THE COURT: I'll (inaudible).
Q. (BY MR. GOODMAN) Do you recall if
(inaudible) ?
A. (Inaudible. )
Q. It was at that time he told you there's

something in your car, meet us in Clinton with it?
MR. CRONK: Asked and answered.
THE COURT: Overruled.
Q. (BY MR. GOODMAN) Then you and Tina
drove back to Clinton?
A. (Inaudible.)
Q. But you say Euka was already there when
you got back there?
A. (Inaudible.)
Q. What car was Euka driving?
MR. CRONK: Irrelevant.
THE COURT: Sustained.
Q. (BY MR. GOODMAN) Where did you next see

Euka when you got back to Clinton, at your

apartment?
A. (Inaudible.)
Q. Then Buka -- did you see Euka go into

your car and take something out?

A. (Inaudible.)

 

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Q. You just assumed that he did?

MR. CRONK: Asked and answered.
THE COURT: Sustained.
MR. GOODMAN: Nothing further.
THE COURT: Anything further?
MR. CRONK: One thing.
REDIRECT EXAMINATION
BY MR. CRONK:

Q. Ms. Kline, has Mr. Wadlington provided

support for your child you have with him?
MR. GOODMAN: Objection.
THE COURT: Sustained.

Q. (BY MR. CRONK) When you spoke with him
on the phone over the summer and asked for money,
why did you do that?

A. (Inaudible.)

MR. CRONK: That's all I have.
RECROSS-EXAMINATION
BY MR. GOODMAN:
Q. What did he say to you on the phone call

about sending you money? Did he say that he

would?

A. (Inaudible. )

Q. Did he know where to contact you after
that?

 

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A. (Inaudible.)
MR. GOODMAN: Nothing further.
MR. CRONK: That's all I have.
THE COURT: You may step down.
Call your next witness.
RON HEEREN,
called as a witness on behalf of the
Government, being first duly sworn, was
examined and testified as follows:
-DIRECT EXAMINATION
BY MR. CRONK:
Q. Would you state your name and then spell
your last name, please.
A. Yes. Ron Heeren, the spelling would be
H-E-E-R-E-N.
Q. What is your occupation?
A. Police officer, City of Clinton, Iowa.
Q. How long have you been a police officer?
A. Approximately 12 years.
Q. Were you a police officer on

January 29th of 1999?

A. Yes, sir.

Q. You were with the Clinton Police
Department on that date?

A. Yes.

 

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Q. Tell us, did you have occasion to

receive contact that evening from a Heather Kline?

A. Yes.

Q. Can you tell us about what time you were
contacted by Heather?

A. I believe it was in the area of
7 otclock (inaudible).

Q. Can you tell us what the nature of that
contact was?

A. Yes. She had indicated to me that the
person she knows as Euka Wadlington had attempted
to contact her mother to find out where she was.

Q. What did you do with that information?

A. (Inaudible) call her mother (inaudible)
conversations (inaudible) did or she had, a person
identified himself as Euka. She had caller ID. I
believe at 6:37 p.m., I believe it was, and
(inaudible) she gave that information to me
(inaudible).

At that point in time, Mr. Greenwald was
able to take that number and verify (inaudible)
pay phone at Country Kitchen.

Q. Is that the same Country Kitchen where
Kelli Sieck works?

A. Yes.

 

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Q. Then did you go to Country Kitchen?

A. Yes.

Q. Did you speak with Kelli Sieck?

A. Yes, I did.

Q. After receiving information from her,

what did you do?

A, At that point in time, I had gotten
copies of (inaudible) motels and asked the front
desk clerks (inaudible) anything unusual had taken
place this evening. I went to the (inaudible).

Q. Did you learn then that there were
people there that you were interested in?

A. Yes.

Q. Did you have occasion to observe anyone
you recognized?

A. Later in the evening, yes.

Q. About what time was it that you came

upon the Frontier Hotel?

A. Initially?

Q. Yes.

A. I believe it was in the area of 9, 9:15.
Q. Tell us about when it was you first saw

Mr. Wadlington.
A. I couldn't give the exact time. After

10:30 or 11.

 

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times to Heather Kline?

A. Yes.

Q. And you told her if she was ever
contacted by Euka Wadlington, she should
immediately contact you?

A. Yes.

 

 

Q. Where did you see him?

A. In the pool area of the Frontier. lLater
on (inaudible).

Q. When you saw him in the pool area, you
think that was around 10:30, you say?

A. (Inaudible. )

Q. What was he doing?

A. (Inaudible) socializing.

Q. Did you see Mr. Goodman there?

A. No, I did not.

Q. At any time, did you see Mr. Goodman
there?

A. During that evening?

Q. Yes.

A. No (inaudible).

MR. CRONK: No other questions.
CROSS -EXAMINATION

BY MR. GOODMAN:

Q. Officer Heeren, you've spoken several

 

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Q. Have you done this with other witnesses

as well?
MR. CRONK: Irrelevant.
THE COURT: Sustained.
Q. (BY MR. GOODMAN) Officer Heeren, you

know Euka Wadlington fairly well; is that correct?

A. I don't know him real well, no.

Q. You've stopped him many times, haven't
you?

A. I have?

Q. Have you?

A. No.

Q. Have you been to his club?

A. Yes.

Q. You've seen him at his club?

A. No, I have not.

Q. Did you ever raid his club and look for
drugs?

A. Yes.

Q. When was that?

A. I believe it was 1997. I believe
(inaudible).

Q. Was that pursuant to a search warrant?

A. Yes.

Q. I take it that warrant would be filed

 

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with the Clerk?

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A. Yes.

Q. And the report of what you found in that
search?

A. Yes.

Q. You didn't find any drugs in that

search, did you?

A. I didn't search (inaudible).

Q. Do you know if any drugs were found?
A. I don't believe there was.

Q. Did an informant tell you that drug

dealing was taking place at that club?

A. Yes.

Q. And that is the basis for your search
warrant?

A. Yes.

Q. Isn't it true you told Mr. Wadlington
sometime in 1997 there's a lot of corn fields
between here and Chicago and he could be found

dead in one of them?

A. No.

Q. Never said that to him?

A. No.

Q. Never made any threat to Mr. Wadlington?
A. I never spoke to Mr. Wadlington.

 

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Q. Did you speak to him on January 29th,

1999?
A. No. I believe I might have said hi
(inaudible).
Q. Did you participate in the traffic stop?
A. I remained in the vehicle most of the

time (inaudible) involved in that conversation.
Q. How many (inaudible) were involved in
that traffic stop?
MR. CRONK: Irrelevant.

THE COURT: Overruled.

A. I would estimate (inaudible).

Q. Was there any sort of roadblock set up?
A. No (inaudible).

Q. Officer Heeren, when was the first time

you saw Euka Wadlington on that evening?
A. (Inaudible. )

Q. Around 10:30, that's the first time you

A. That evening?

Q. Yes.

A. Yes.

Q. Did you see him earlier?

A. No.

Q. Did you follow him around earlier?

 

 

 

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A No

Q. Do you know if anyone was following him
around earlier?

A. I don't believe so.

Q. You arrived at the hotel around 9 or
9:15?

A. Yes.

Q. You spoke to the clerk?

A. Yes.

Q. You said, "Is there any unusual
activity?"

A. Yes.

Q. Are those your words?

A. I believe so.

Q. Did you say, "Are there any black people
hanging out at the hotel?"

A. I didn't say that. I said (inaudible).

Q. Did you describe Euka?

A. I described the individuals based on
what I had (inaudible).

Q. What did you describe?

A. (Inaudible) four to six black
individuals (inaudible).

Q. When you say "unusual activity," do you

mean large black males at the hotel?

 

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A. No. I meant did we have anybody

Matching that kind of description check into the

hotel, any unusual activity associated with that.

Q. And she said, yes, there was unusual
activity?

A. Yes.

Q. And that would be them hanging out by
the pool. Some of them were swimming; is that

correct?
A. No. I believe what struck her
(inaudible) very short three at the same time at a

time (inaudible).

Q. Have you seen the phone bill?

A. (Inaudible.)

Q. It was $57?

A. I believe it was a little bit over
(inaudible).

Q. So it was $57 with the phone bill and

video rental; is that correct?

A. (Inaudible.)

Q. And she found that unusual, that the
guests at the hotel would run up a $57 bill
between the phones and video?

A. (Inaudible. )

Q. She didn't say there was any criminal

 

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activity going on, did she?

A. No.
Q. When you saw Euka around 10:30, did you

see him come into the hotel?

A. No. I believe he was (inaudible).

Q. He was there from 9 o'clock on?

A. (Inaudible.)

Q. You left at some point?

A. Yes.

Q. Where did you go?

A. I went back to the (inaudible).

Q. Then you got a call to come back to the

hotel because Euka had been spotted (inaudible)?

A. (Inaudible. )

Q. You went back to the police station and
called Agent Dasso and said you know where Euka
is?

A. Yes.

Q. So after you got to the hotel at 9, was

surveillance set up at the Best Western?

A. From the first time I got there?

Q. Yes.

A. (Inaudible.)

Q. When was surveillance first set up?
A. Sometime after 10:30, I believe

 

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(inaudible).
Q. You're sure about that? There was no
one watching the hotel prior to 10:30?
A. Not that I'm aware of.
Q. You arrived back at the hotel at 10:30;

is that correct?

A. Give or take. (Inaudible) not exactly
10:30, give or take a few minutes (inaudible)
anywhere from 10:30 to 10:45, in that time frame.

Q. So between 10:30 and 10:45, you drove
back to the Best Western; is that correct?

A. Sometime in that time frame or close
proximity, yes.

Q. And at that time there were no other

police officers there?

A. No, I don't believe so.

Q. You got out of your car, you entered the
hotel.

A. Yes.

Q. You went into the lounge area; is that

correct?

A. Actually (inaudible) office area.
Q. Spoke to the clerk?
A. Spoke to the clerk, contacted the hotel

Manager and sat in his office (inaudible)

 

 

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shouting.

Q. Where were you when you observed Euka
Wadlington socializing?

A. In the -- I believe it was in the
manager's office. In the manager's office,
through a window (inaudible).

Q. Did you also ask the manager whether
Euka's attorney had been to see him at the hotel?

A. I think I asked who or I asked about
people coming in and (inaudible) manager, front
desk person indicated the individuals (inaudible)
to her and said, "I'm looking for a Leonard
Goodman. When he comes in, direct him
(inaudible)," and that's where the conversation
ended.

Q. Did he tell you, in fact, the attorney
Leonard Goodman had arrived?

A. (Inaudible. )

QO. That would have been around what,

7 o'clock?

A. I don't know.

Q. Certainly earlier in the evening; is
that correct?

A. Yes.

Q. Did you know that this person, Leonard

 

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Goodman, was Euka's attorney?

A. I think when I heard the name I did,
yes.

Q. Is it a common practice to conduct
surveillance of a person -- of a defendant ina

criminal case while he's visiting his attorney?
MR. CRONK: Argumentive.
THE COURT: Sustained.

A. (Inaudible. )

Q. After you heard that his attorney had
been there to visit, did you then go home and
terminate your surveillance or your investigation
of Mr. Wadlington?

A. No.

Q. You thought the attorney was involved in
some criminal activity with Mr. Wadlington, is

that what you were thinking?

A. No.

Q. What were you thinking?

A. (Inaudible) potential witness
(inaudible).

Q. So you thought maybe Euka and his

attorney were going to go threaten witnesses; is
that what you were concerned about?

A. I don't know who's going to go threaten

 

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witnesses (inaudible).

Q. You typically -- if the defendant is out
on bond, you typically follow him around to make
sure he doesn't contact witnesses?

MR. CRONK: Argumentive.

THE COURT: Sustained.

MR. GOODMAN: I have nothing
further.

THE COURT: Redirect?

MR. CRONK: Yes.

REDIRECT EXAMINATION
BY MR. CRONK:

Q. Based on your investigation, is
Mr. Wadlington known to carry weapons?

MR. GOODMAN: Objection.
THE COURT: Overruled.

A. Yes.

Q. At the time four police officers or
four separate vehicles were used to stop
Mr. Wadlington, can you tell us, was he abiding by
the traffic laws at that time?

A. (Inaudible) conversations (inaudible)
officer involved in the traffic stop and the
officer involved indicated (inaudible) speeding.

MR. GOODMAN: Objection, hearsay

 

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response.

THE COURT: Overruled.

A. And also according to Officer
(inaudible) indicated might be impaired or
intoxicated.

Q. During the time that you observed
Mr. Wadlington, was he drinking?

A. At the Frontier (inaudible) they had
glasses in hand. I don't know what was in them
but (inaudible).

MR. CRONK: No other questions.
RECROSS-EXAMINATION
BY MR. GOODMAN:

Q. Officer Heeren, is it your testimony
he's known to carry weapons; is that correct?

A. (Inaudible) investigation.

Q. He's been stopped many times when he
lived in Clinton, hasn't he?

A. I never stopped him.

Q. Are you aware he has been stopped many
times while driving in Clinton?

A. As I recall, I recall (inaudible).

Q. Has he ever been known to have a weapon
in his possession?

A. At the time of the stops?

 

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Q. Yes.
A. (Inaudible.)
Q. Has he ever been known to have a weapon

in his possession when stopped by a police

officer?
A. I don't know.
Q. You don't have any information that a

police officer has ever found him in possession of
a gun, do you?

A. No.

Q. Then when the officers searched his
club, as far as you know, no weapons were found;
is that correct?

A. That is correct.

Q. So the information that he is known to
carry guns, that comes from some of your
informants?

A. Yes.

Q. Drug dealers?

A. Not all of them.

Q. So somebody not a drug dealer says he
carries guns?

A. Yes.

Q. Who is that?

MR. CRONK: Objection.

 

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THE COURT: Sustained.

Q. (BY MR. GOODMAN) How many people have

told you that Euka carries guns?

A. (Inaudible.)

Q. More than two?

A. Yes.

Q. Can you name one person that's told you

that?
MR. CRONK: Objection.
THE COURT: Sustained.
Q. (BY MR. GOODMAN) You said that he hada

glass in his hand at the Best Western.

A. Yes.

Q. You observed that from the TV monitor?
A. No, from a (inaudible).

Q. And that was when he was in the pool

area socializing?

A. Yes.

Q. Talking to somebody?

A. Yes.

Q. How long after you made that observation

did you leave the hotel?
A. (Inaudible. )
Q. Had you ever learned that he had been

dropped off at the hotel somewhere around 10:30 by

 

 

 

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his attorney?
A. No.
MR. GOODMAN: Nothing further.
THE COURT: Anything else?
MR. CRONK: No.
THE COURT: All right, Officer
Heeren, you may step down.
We're going to take a recess at this
point in time.
(A recess was held off the record
from 11:40 a.m. to 12:05 p.m.)
MR. CRONK: We call Sammy Walker.
THE COURT: Mr. Walker, step forward
and be sworn, please.
ARTHUR "SAMMY" WALKER,
called as a witness on behalf of the
Government, being first duly Sworn, was
examined and testified as follows:
DIRECT EXAMINATION
BY MR. CRONK:
Q. Would you state your name, then spell

your last name, please.

A. Arthur Walker, W-A-L-K-E-R.
Q. Do you go by Sammy?
A. Yes.

 

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with the tie sitting at counsel table here?
A. Yes.

Q. Mr. Walker, can you tell us, did you

of December of this last year?
A. Yes.
Q. Can you tell us, on what occasion --

tell us on what occasion that occurred.

A. He showed up (inaudible).
Q. Who?
A. (Inaudible. )

 

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Q. Can you tell us how old you are? "

A. 38.

Q. Where do you live?

A. (Inaudible.)

Q. Do you work?

A. Yes.

Q. Where do you work?

A. (Inaudible.)

Q. Is that, like, a junk yard?

A. Yes, it is.

Q. Can you tell us, do you know Euka
Wadlington?

A. Yes, I do.

Q. Is that the gentleman in the white shirt

have contact with Mr. Wadlington in the early part

 

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Q. What specifically did he ask?

A. What he had been up to, what things he
had gone through, just that he was getting --

making arrangements to set him up or something

like that.
Q. Set who up?
A. (Inaudible.)
Q. What was your response to his inquiry

about Mark Thomas?

A. I said that I didn't want to get
involved. I don't know (inaudible) between them.
Q. As far as you knew, Mark Thomas and

Mr. Wadlington knew each other?

A. Yes.

Q. And after you told him you didn't want
to take part in it, you didn't want to talk to him
about it, what did he do?

A. Asked me a few questions (inaudible) and
he drove (inaudible).

Q. Let's talk about that. You're in an

office, are you? Is that right? At first?

A. At first (inaudible).

Q. How many people are we talking about
here?

A. Three.

 

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Q. Someone else was with Mr. Wadlington? "

A. Yes.

Q. Did you know that person?

A. No.

Q. After you told him that you didn't want
to be involved, was that there at the first
location?

A. What do you mean by "the first
location?"

Q. Where he came in and saw you.

A. No.

Q. Where did you tell him that?

A, Over in the (inaudible).

Q. Where were you going?

A. Where was I going?

Q. Yes.

A. I was headed (inaudible) house.

Q. Why were you going there?

A. Because I didn't want to be involved in

the conversation (inaudible).

Q. But Mr. Wadlington didn't leave?
A, He followed Mr. (Inaudible) house.
Q. Was he talking to you while you were

walking?

A. Yes.

 

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Q. What was he saying?

A. (Inaudible. ) I was trying not to listen

to what he had to say, because I did not want to

be involved. I would (inaudible) truck.
Q. Did he want to know where Mark was?
A. I can't recall if he ever asked that

question.

Q. He wanted information from you?
A. Just what Mark was up to, yeah.
Q. Meaning what?

MR. GOODMAN: Objection.
THE COURT: Sustained.
Q. (BY MR. CRONK) All right, now, how far

a walk did you have to go to get to your parents’

house?
A. About 50 yards.
Q. While you were walking, where was

Mr. Wadlington?

A. Beside (inaudible).

Q. What were you telling him?

A. (Inaudible.)

Q. How many times do you think you repeated
that?

A. I don't know, a few.

Q. What happened when you got to the front

 

 

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of your parents' house? .
A. He (inaudible) van and drove away.
Q. What did you do?
A. I went back to work.
Q. As soon as he left, you came back out of
the house and went back over to the yard?
A. Yes.
Q. Did you talk to Mr. Thomas after that?
A. (Inaudible) car and I said, "You just
missed EFuka." (Inaudible) I don't know if it was
(inaudible) same day or next day.
Q. How long do you think he was there?
Mr. Wadlington?
A. 15 minutes, tops. (Inaudible).
MR. CRONK: No other questions.
THE COURT: (Inaudible.)
CROSS -EXAMINATION
BY MR. GOODMAN:
Q. Mr. Walker, you said you didn't recall a

lot of conversation you had with Euka during this
10 or 15 minutes?

A. True.

Q. Do you recall him telling you that a car
had broke down?

A. No, I don't.

 

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Q. Do you recall him asking about his .
brother (inaudible)?

A. Yeah (inaudible).

Q. Do you recall talking about buying a
car?

A. Yeah.

Q. And he was asking -- did he ask you if
you knew where his brother was?

A. (Inaudible. )

Q. That he was looking for his brother,
that Euka wanted to contact his brother?

A. Yeah, that's what he told me.

Q. Was that about a car?

A. I don't know that. (Inaudible) I'm not
sure.

Q. How did the conversation about a car
come up?

A. I said, "If you want to talk (inaudible)
I would be willing to (inaudible)."

Q. So he hadn't mentioned that his car had
broken down?

A. (Inaudible.) I don't recall.

Q. He never threatened you in any way, did
he?-

A. (Inaudible. )

 

 

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Q. Do you have a case pending, drug case?
A. No.
Q. Did you have a drug case?

MR. CRONK: Irrelevant.

THE COURT: Overruled.
Q. Did you have a drug case?
A. Do I have a drug case?
Q. Did you have one you were arrested for?
A. No.
Q. Never were arrested?
A. No.
Q. Never had some involvement with Mark

Thomas in some sort of criminal proceeding?

A. I don't understand.
Q. Was Mark Thomas -- did he ever tell the

police something about you?
A. (Inaudible.)
Q. (Inaudible) drug user?
THE COURT: You're --

MR. GOODMAN: T'll strike that. I'm

sorry.

Q. (BY MR. GOODMAN) How do you know Euka
Wadlington?

A. He was (inaudible).

Q. You never bought drugs from him, did

 

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THE COURT: You're getting into an

area, Counsel, where this witness may need to have
an attorney (inaudible). I'm going to ask you to
move on to a different area.
MR. GOODMAN: Okay.
Q. It's your testimony -- did he bring up
the subject of Mark Thomas, or did you bring up

that subject? Do you recall?

A. I don't recall.
Q. It may have been you that brought it up?
A. I don't think.
Q. You said it was a mutual friend, though,

so you know Mark Thomas?

A. (Inaudible.)

Q. Is it possible you brought up the
subject?

A. I don't think so.

Q. But you're not sure?

A. I am not absolutely positive.

Q. As far as you know, Euka never asked you

where Mark Thomas was; is that correct?
A. He (inaudible).
Q. Never asked how to get ahold of him, did

he?

 

 

 

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A. I don't think so.
Q. Just might have asked you some questions
about Mark?
A. Yes.

Q. He wanted to know if you thought that

Mark was trying to set him up?

A. I think that's about right.
Q. That's about what he asked you?
A. I think so, yes.

MR. GOODMAN: I have nothing
further, Judge.

MR. CRONK: Nothing further.

THE COURT: Mr. Walker, thank you.
You may step down. You are excused.

(Inaudible) now in a position to
proceed with proffers?

MR. CRONK: I believe so, Your
Honor.

THE COURT: You may proceed.

MR. CRONK: Your Honor, I would
proffer that if Bill Greenwald, police officer
with the (inaudible) Police Department assigned to
the Blackhawk Area Task Force, were to testify, he
would indicate he went -- that he observed a group

of six to eight individuals leaving the Frontier

 

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Motel at about 10 minutes to midnight on

January 29th, 1999; that they proceeded to a white
Dodge Intrepid and a tan Chevy Blazer. They were
placing bags and containers into the back of the
Blazer and the Dodge Intrepid.

One of those individuals was
Mr. Wadlington, who got into the driver's seat of
the Chevy Blazer. Officer Greenwald then followed
the vehicle and paced it as it went down the road.
The vehicle went in excess of the speed limit, in
fact, approximately 65 miles an hour.

Officer Greenwald began to pace the
vehicle, meaning the Chevy tan Blazer, that was
traveling at a high rate of speed, and at that
point, he was able to clock it at 47 miles per
hour. The speed limit was 35. He was not able to
track both vehicles because the Dodge Intrepid was
traveling a distance ahead at a faster rate of
speed.

Officer Greenwald was notified by
the dispatcher during this surveillance that
Mr. Wadlington's driving privileges were
suspended. The vehicle approached the Highway 30
Bridge, which is a bridge that crosses the

Mississippi River from Iowa into Illinois, and as

 

 

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it got onto -- approached the Highway 30 Bridge,

Officer Greenwald activated emergency lights and

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siren on his vehicle. Mr. Wadlington slowed down

and stopped. Officer Greenwald approached the

vehicle, and there were other officers there for

his safety, and he did a traffic stop at that
time.

Mr. Wadlington was subsequently
given a field sobriety test and a Breathalyzer.
He was given a citation for speeding and was
released at approximately 1:05 a.m. on
January 30th.

Agent Dasso could be called as a
witness. If he was, he would testify that on
December 11th of 1998, he was contacted by Sheri
Steve Cundiff, also a member of the Black Hawk
Area Task Force.

Agent Dasso is present and would

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testify to the same thing, and that is Mark Thomas

contacted Steve Cundiff on that date, December

lith, 1998, and told him he had spoken with Sammy

Walker, and that Walker had told him that Euka
Wadlington had been to the junk yard looking for
him and that Mr. Walker told him that he had big

trouble.

 

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Agent Dasso would also testify that

Mr. Wadlington was in Clinton that morning, the
morning of his initial scheduled appearance in
Federal court, to be in court in Clinton, but he
had been released from court in Clinton at 10:30
in the morning, and his appearance in Federal
court was not until, I believe, 1:30 that
afternoon.

Agent Dasso would testify, and did
testify, I believe, in Chicago at a preliminary
hearing that Mark Thomas was an individual who
arranged through Mr. Wadlington to obtain a one
kilogram quantity of cocaine in November 1998, and
that Mr. Thomas had conversations that were
recorded with Mr. Wadlington, and that
Mr. Wadlington therefore knew Mr. Thomas was a
witness.

Agent Dasso would testify that on
January 5th, 1999, he had contact with Samuel
(inaudible) Miller, and on that occasion,
Mr. Miller told him that he had heard from
Terrance Hood's father that a threat had been
communicated to Mr. Miller's mother if he were to
cooperate with the police. Mr. Miller indicated

he was scared because he thought they knew where

 

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his mother lived in Chicago, meaning
Mr. Wadlington. She's a school teacher there, and
the threat was that she may not make it safely
back home.

That's all that --

Oh, Mr. Miller indicated that other
people who were aware of -- who knew who
Mr. Wadlington was had received similar threats,
but he wasn't specific about that. Mr. Miller
left the area of Clinton shortly after
January 5th, 1999. There's a warrant out for his
arrest, and he can't be found.

There's a Carrie Kirkenhoven
(phonetic) who works at the Best Western in
Clinton. She would testify to the fact that six
to eight individuals, including Mr. Wadlington,
checked into the hotel prior to 7:30 p.m.; that
they got Room 400; that they charged movies and a
bar bill and telephone calls in a very short
period of time up to $57; that Mr. Goodman arrived
at 7:34 p.m.

Prior to his arrival, a person who
described himself as Euka requested that if a
Mr. Goodman came to the front desk, she should

direct him to Room 400. Mr. Goodman did arrive,

 

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and she directed him accordingly; that when these

individuals checked out, they didn't formally
check out at the desk, they simply had a credit
card imprint they left, so when they checked out,
they just left without going through the formal
check-out process at the desk.

That's what the Government's
evidence would be, Your Honor.

THE COURT: Mr. Goodman.

MR. GOODMAN: Thank you, Your Honor.

First of all, there's certain things
that I'm not going to stipulate to. I won't
stipulate that Mr. Greenwald would testify that
Euka was driving 65 miles an hour, because in his
report it says he paced him at 47.

THE COURT: (Inaudible) 47 miles an
hour.

MR. GOODMAN: But he says --

THE COURT: I don't have the report
in front of me.

MR. GOODMAN: I'm just --

THE COURT: I'm not asking you to
stipulate that's (inaudible) proffer. I'm not
asking for you to.

MR. GOODMAN: I understand, Your

 

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Honor, but I'm not going to stipulate that would
be his testimony, because his own report doesn't
say anything about driving at 65 miles an hour, so
I don't believe that would be his testimony if he
testified.

THE COURT: Counsel, I just said
that. I didn't hear Mr. Cronk say he drove 65
miles an hour. I heard him say he was clocked at
47 miles per hour in a 35 miles per hour zone.

MR. GOODMAN: I'm sorry. Maybe I
misheard.

THE COURT: I think you did. But I
didn't hear anything about 65, and I don't care
whether it was 36 miles per hour or 65.

MR. GOODMAN: All right, I
apologize.

Secondly, Your Honor, the
allegation -- well, just one correction. Agent
Dasso, at the preliminary hearing, never did
testify about the names of any informants. He
only testified Confidential Source No. 1 and
Confidential Source No. 2, and he did not disclose
the names of any confidential sources.

The third thing is, I'm not going

to -- I don't know if Your Honor is going to

 

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consider the information about the threat to
Samuel Miller. This is the very first I have
heard of it, and if Your Honor was going to
consider that, I would ask for testimony about it,
because it's not clear from what Mr. Cronk's
proffer -- well, first of all, it's not clear of
when this phone call occurred, it's not clear
whether the phone call came from Euka Wadlington
or whether it came from somebody else.

THE COURT: I'm not disagreeing with
you (inaudible) take it for whatever value it has.

MR. GOODMAN: Okay. That's all I
have with regard to their -- I have some evidence
that I would proffer, Your Honor.

THE COURT: Proceed.

MR. GOODMAN: Thank you.

First, Your Honor, I believe it's --
Nicole Smith (phonetic), who is here in court, if
called to testify, she would testify that on
January 29th, 1999, she came to Davenport with
Euka Wadlington. She accompanied him here. She
would testify she is a friend of his. She lives
in Chicago; that after court in Davenport, she
went to Clinton, Iowa, with Euka Wadlington.

They checked into a hotel. She

 

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would testify that at sometime between 7 and 8,

his attorney, being myself, arrived at the hotel
and had a conference with Euka Wadlington in the
hotel for approximately an hour, at which point
the attorney and Euka left the hotel and Euka
returned, she would testify, sometime between 10
and 11. She's not sure of the exact time.

At the time Euka returned,

Ms. Smith was in the pool, and when Euka arrived,
Euka said to her and to everyone else, "Come on.
It's time to go," at which point she dried herself
off, packed her stuff, including a wet bathing
suit, in a bag -- there were other people that had
wet clothes to pack. They then packed up the car
and left.

She would testify it was
approximately a half hour between the time that
Euka returned to the Best Western and the time
that they set off back for Chicago. She would

testify that within about 10 minutes, they were

pulled over by a number of squad cars who -- she
would also testify Euka was not speeding. She was
in the car with him. She would testify about a

search that was not consensual, which I understand

is not an issue. That would be her testimony.

 

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And I would testify, Your Honor. I

would proffer to the Court that Mr. Wadlington and
I had discussed ~-- prior to coming to Davenport to
court on the 29th, we had discussed using that
opportunity for a visit to Clinton, Iowa, which
is, in fact, the scene of the alleged crime, the
alleged drug offenses. I had never been to
Clinton, Iowa. We don't have the services of an
investigator on the case due to financial
considerations.

At this time -- and I had asked Euka
to show me around the town, and in particular show
me places that had some particular relevance to
what I knew about the allegations against him. He
had agreed. We had intended to go earlier in the
afternoon; however, earlier in the day, I had
learned that if I wanted to review the evidence, I
had to do it in the office of the United States
Attorney, and I spent approximately four hours in
Mr. Cronk's office looking through his file, which
was actually my first opportunity to look at the
evidence against my client.

At about, I believe it was 6 or 7, I
was kicked out of the office, politely, by Agent

Dasso, who told me he had to go home. He gave me

 

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directions to go back to Chicago. I intended to
go straight back to Chicago; however, before I got
in the car and headed back to Chicago, I paged
Euka. I figured he would have given up on me and
headed back to Chicago -- and by the way, Your
Honor, the only way I could reach him was by
pager, and I could not page him from the U.S.
Attorney's Office, and I had asked a clerk there
if I could take an incoming call or somebody told
me that was not possible there, so I had to wait
until I got in the car and paged him.

At that point, Euka told me he was
at the Best Western in Clinton and he's waiting
for me. At that point, I said, "Okay. I will
meet you." I drove up to Clinton, met him at the
Best Western, spent approximately one hour in Room
400 with him discussing his case, at which time I
asked him to show me around the town of Clinton.
He did. I don't know exactly how long we were
gone, but it was probably between 10 and 11 when I
dropped him back at the Best Western.

I then proceeded to drive back to
Chicago. The next time I heard from my client was
at approximately 5 or 6 in the morning when he

paged me and told me what happened and that he had

 

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gotten stopped by the police and they had been °°
following him, and I believe this is all we have,
Your Honor.

THE COURT: Any rebuttal, Mr. Cronk?

MR. CRONK: Agent Dasso kept track
of the time when Mr. Goodman was at the U.S.
Attorney's Office. Incidentally, Mr. Goodman was
invited to come in anytime to the U.S. Attorney's
Office to view the file. He had agreed to come
the week earlier, but then his schedule --

THE COURT: I'm not concerned about
that issue. Whatever problems there were
(inaudible). What's relevant is what went on
January 29th.

MR. CRONK: On January 29th, he left
the U.S. Attorney's Office an hour and a half --
hour and twenty-five minutes after it closed,
which was 6:25 p.m. As I indicated, he arrived at
the Best Western in Clinton at 7:34 p.m. That's
all.

THE COURT: (Inaudible).

MR. CRONK: Your Honor, the
conditions of release for the Defendant are set
forth in a bond. This was a highly contested bond

hearing in Chicago. These conditions, as the

 

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Court has noted, was that he is not to leave the

Northern District of Iowa -- excuse me,

Illinois -- except to attend court business in
Davenport, Iowa. He is responsible, he signed the
bond. He is responsible for abiding by these
conditions. He did not abide by those conditions,
so he has violated the conditions of release when
he left court at 2:15 in the afternoon.

We don't know where he was until
later in the evening, roughly 6:38, he made a
phone call from the Country Kitchen to a witness's
residence, a person who, I believe, the Court
could determine was scared to death of him from
her testimony and her demeanor on the witness
stand. He had not had previous contact with her
for several months. On that date, he was told to
have no contact with witnesses by Judge Wolle.

He was not with his lawyer, he
didn't come to the U.S. Attorney's Office with his
lawyer to review the file with his lawyer. That
would have been -- my argument would be that would
have been the most appropriate thing for him to do
was to go to the U.S. Attorney's Office and sit
with him and go through the file with his

attorney, but he didn't do that.

 

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He went with a group of six to eight

other individuals, apparently all from Chicago,
and drove to a restaurant and then to check into a
hotel. He stayed there for four ~- several hours.

By 7:35, Mr. Goodman, who states in
his Motion that he was not planning, when he left
the U.S. Attorney's Office, to meet at all with
Mr. Wadlington. When he left the U.S. Attorney's
Office, his plan was to go back to Chicago and,
therefore, he did not intend at that point to meet
at all with Mr. Wadlington no matter where he was.
But when he contacted Mr. Wadlington,
Mr. Wadlington told him he was in Clinton and that
Mr. Goodman should come up there then.

Mr. Goodman, having already told
Mr. McClellan that the whole purpose of going to
Clinton was to see places and do things, then
changed his mind and decided maybe he should go to
Clinton after all.

When he got to Clinton, apparently
he met with his client for a period of time.
Agent Dasso, Officer Heeren, they found out about
Mr. Wadlington being at the Best Western sometime
shortly after 9 p.m., and they saw Mr. Wadlington

for the first time at 10:30 p.m. or thereabouts.

 

 

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He was not with Mr. Goodman. In fact, they did

not leave the Best Western until 10 minutes to
midnight, so Mr. Goodman had been gone for at

least an hour and a half or thereabouts before
Mr. Wadlington left the hotel.

And when he left, he left with a
group of individuals at a high rate of speed,
violating the traffic laws. He was not authorized
to drive and was intending to drive from Clinton
to Illinois, even though he knew his license had
been revoked.

The pretrial services officer
provided credible testimony that this was not an
approved visit to Clinton. It was not previously
discussed, it was not something that Mr. McClellan
was aware of until after the trip had been
completed, and he actually told the Court that
Mr. Goodman told him he did not know it was a
violation of his bond to be in Clinton.

Mr. McClellan indicated it was not his
understanding that Mr. Wadlington would be going
to Clinton by himself or with other individuals
for any other purpose except to visit with his
attorney and to do attorney-related matters.

Back in December of 1998,

 

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Mr. Wadlington was supposed to be here in court at

1:30 in the afternoon. He did not show up on
time. His excuse was that he got lost. The fact
is that he was looking for Mr. Thomas or for
information about Mr. Thomas. Between the time he
was released from the Clinton courthouse on his
other case, he went to see Mr. Walker, then showed
up here some 20 minutes late.

And at that point, the Government
moved to revoke his bond and made it clear that if
there were any other violations of conditions of
release, we would move to revoke again.

I can't prove to you what all
Mr. Wadlington was doing in Clinton during the
several hours he wasn't supervised by his
attorney, nor should I have to prove that.
Certainly I know he had an improper attempt to
contact a witness -- I believe we've established
that -- after a District Court Judge told him not
to do that. I can't prove what Mr. Wadlington
would have said to Heather Kline if she had been
home or if her mother had said Heather is such and
such a place; you can find her there. I don't
know whether he would go there or not. I

shouldn't have to prove that.

 

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There are travel restrictions on

witnesses for good reason. The travel
restrictions in this case are clear.

Mr. Wadlington completely disregarded those
restrictions. He thumbed his nose at the
magistrate who granted his release; he's thumbing
his nose at us now.

It is not appropriate for a person
with two prior felony drug convictions, with
serious drug offenses like this, to be allowed to
travel under the guise of meeting his lawyer
wherever his lawyer chooses to meet him and do as
he pleases, and I ask the Court to revoke his bond
because he's violated those conditions.

THE COURT: Mr. Goodman?

MR. GOODMAN: Your Honor, with all
due respect, I disagree that he has violated the
conditions of his bond.

I would say, first of all, there was
a contested bond hearing and the issue of bond is
very important to me and to my client. It's very
important to me, and that's why it was so greatly
contested in Chicago. It's important to me for a
number of reasons.

First of all, his liberty is

 

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important to me. Second, it's important to me

because we're on a limited budget in this case,
and I need his assistance to help defend these
charges, and that is really the nature of these
proceedings.

It's an offense, apparently, to
Mr. Cronk that Mr. Wadlington has his liberty,
because Mr. Cronk believes his witnesses, who are
paid informants who are telling him that Euka is
the biggest drug dealer this side of the
Mississippi, and the fact that a judge in Chicago
didn't feel the same way is an affront to

Mr. Cronk, and I believe that's what we are here

about.

These allegations, first of all,
allegations that he has contacted witnesses. The
first time he was informed by the Court -- and we

don't deny that Judge Wolle did tell
Mr. Wadlington as he left court that he was not to
have any contact with witnesses -- he did not know
Heather Kline was a witness at that time. He had
absolutely no information to that respect.

Heather Kline is a person that has a
baby by him, and he contacted her, as he did in

the summer of 1998, to inquire about the baby, was

 

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not calling her to see if she was going to be .
witness against him in his case.

And there is certainly no evidence
of that, and the evidence they put on here, I
don't think, would even be to a suggest he was
trying to make some improper contact or he
believed she was a witness.

The testimony about trying to
contact Mark Thomas was contradicted by
Mr. Cronk's own witness, who said that Euka never
asked where he was, never asked about trying to
contact the witness, himself may have brought up
the subject of Mark Thomas. So the allegation of
contacting witnesses is a serious allegation, and
if there had been any threats, I certainly would
be the first one to admit that is a serious
matter, but it just has not been shown. All we
have here are allegations.

In terms of travel restrictions,
Mr. Cronk states that Mr. Wadlington has thumbed
his nose at the pretrial restrictions. That is
certainly not true. You heard Mr. McClellan say
Mr. Wadlington had been very diligent. He has
been going to work, he's been working, he's been

supporting his family. When he says he's going to

 

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see his attorney, we also confirm that. I also

call Mr. McClellan and say, "Yes. He is coming to
see me. Is that all right?" On this day, I was
not able to get in touch with Mr. McClellan, and I
left him a voice mail explaining our intentions,
that I wanted Mr. Wadlington's assistance in the
town of Clinton.

Mr. Cronk says he shouldn't have
gone up there by himself; he should have gone to
the U.S. Attorney's Office. But I don't believe
Mr. Cronk would have wanted Euka Wadlington in the
U.S. Attorney's Office with all of the evidence
and, in fact, Mr. Cronk asked whether Euka was
going to be there and specifically said that was
good he was not going to join us while I went
through the evidence in the case.

Finally, the fact that he was
traveling on his own, Mr. McClellan told you that
he was aware that Euka was not driving with me
that entire day and, in fact, I was somewhat
responsible he was left alone in Clinton for such
a long period of time, but as I explained to the
Court, I had no way to contact him from the time I
went to the U.S. Attorney's Office and saw these

huge stacks of evidence that I wanted to go

 

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through, and I probably should have been more
diligent at that point and contacted Euka and told
him, "It's probably going to be too late. You
should go on back to Chicago," and that's my fault
and I should have done that, and I didn't.

I just went to the U.S. Attorney's
Office (inaudible) going to head back to Chicago,
and after I got out and learned he was up in
Clinton, I changed my plans as Mr. Cronk states,
but his trying to assign some sort of sneaky
motive for me going up there is not true. I went
up there for the reason that I had told Sean
McClellan I was going up there, to investigate my
case and to investigate Euka's case and to enlist
his assistance.

I believe that those are the two
matters before you, the contacting witnesses and
the travel restrictions. If I've missed one --
oh, violating other laws, where the traffic
restriction, I believe, the Court said you were
not particularly concerned with whether he was
speeding and whether or not he had a beer at the
Best Western or whether or not he socialized, but
if he has four our five hours to wait for me and

doesn't know when I'm going to arrive and when

 

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he's going to hear from me, I don't think it's

wrong for him to go to a restaurant and have a
meal and for him to socialize with his friends or
even have a beer. It is not a condition of his
bond. He certainly is not allowed to get drunk
and as (inaudible) andadmits, he was not drunk,
and I don't believe there is any evidence of a
bond violation, and I would ask the Court to deny
the Government's Motion.

THE COURT: Mr. Cronk.

MR. CRONE: Thank you.

According to electronic monitoring,
at 3:12 a.m. on January 29th, Mr. Wadlington was
no longer at home. He wasn't going to work. But
he didn't return home until January 30th at 5:07
a.m.

His hearing in Davenport was at
noon. He was excused from the courthouse at about
2 o'clock. There's been no reasonable explanation
given as to why Mr. Wadlington traveled to Clinton
with six to eight other people or five to seven
other people from Chicago. There's been no
reasonable explanation for that. This was not
supposed to be a trip to go to the hotel, drink,

watch movies and go swimming.

 

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If Mr. Wadlington doesn't have
driving privileges, I understand why one person
would have to drive him, even if Mr. Goodman isn't
that person. There's no reasonable explanation
for why a large group of people would go. It
completely defies these conditions of release that
Mr. Wadlington or Mr. Goodman would think it
appropriate for a person on these kind of strict
travel restrictions to travel with an entourage
of individuals, go to Clinton, a place he's not
supposed to go, which is clearly written in the
travel restrictions, check into a hotel, call
witnesses, call other people, call anybody. He's
not supposed to call anybody while he's there.
He's supposed to be with his lawyer.

That's all, Your Honor.

THE COURT: As I have listened to
the evidence and the arguments, I have weighed the
equities and I have weighed the issues, and in my
own mind, I have flip-flopped several times as to
what I'm going to do. As I listened to the
evidence, there are some things that bother me.

First of all, what bothers me is
there is nothing in the record before me that

shows who the witnesses are Mr. Waldlington's not

 

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supposed to contact. All I've heard and

everyone's agreed is that (inaudible) said don't
contact witnesses, but I don't know who those
witnesses are. That aspect troubles me.

Mr. Walker's testimony was
(inaudible) as far as what went on, and I
certainly -- since I don't know either witness --
he didn't say he was threatened. That issue,
while on its face, in court Mr. Goodman concedes
contact with witness or, even worse, threatening
witnesses, is a serious matter.

Right now, I haven't (inaudible),
but what really bothers me, Mr. Goodman, is I have
looked at Magistrate Judge Denlow's order, and I
don't see anything in here that says
Mr. Wadlington is permitted to go anywhere other
than Northern District of Illinois or Davenport,
Iowa (inaudible). It doesn't say anything in
there about being in the company of his attorney
and that company being allowed (inaudible).

At the outset, my feeling was that
there was a good argument to be made, because he
was consulting with you and going to assist you
and admittedly, according to Mr. McClellan, you

called his office the day before and left a voice

 

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mail and said we're going to (inaudible), but
again, that's not part of the bond. You were
(inaudible) there hasn't been any application.

I might have been more ienient in
this regard had Mr. Wadlington simply accompanied
you to Clinton then accompanied you back to
Chicago, or at least in that time frame; but what
really bothers me is: number one, according to
Mr. Walker, even though his testimony is
(inaudible) apparently after Magistrate Judge
Denlow issued this bond on December 2, 1998,

Mr. Wadlington (inaudible). I understand and I
recall that that hearing, the original hearing,
was a matter of (inaudible).

MR. GOODMAN: Because he was there
for that matter on that day.

THE COURT: And I'll accept your
professional statement, but again, that's not part
of the bond. There's nothing in there. And
talking to Mr. Walker had nothing to do with
handling that matter in Clinton, Iowa, on
December 11th.

Further, I am troubled by the fact
that the evidence shows Mr. Walker -- I'm sorry.

Mr. Wadlington left Chicago at 3 o'clock in the

 

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morning on January 29th, 1999, to come to
Davenport, Iowa, for a (inaudible) hearing. I've
driven to Chicago hundreds of times, and the Court
will take judicial notice (inaudible)
approximately nine hours to get here. That's
inexplicable to me.

Also, I'm troubled by the fact,
Mr. Goodman, as your argument notes the whole
basis for the (inaudible) to Clinton was to assist
Counsel, yet, as you can see, Mr. Wadlington
wasn't with you when you were reviewing all the
evidence here in the Quad Cities. That may or may
not be a tactical decision on your part to have
your client review the evidence, but certainly as
you know, as Mr. Cronk knows, as the Court knows,
Mr. Wadlington had every opportunity and every

right to be in the U.S. Attorney's Office with you

to review evidence. Again, that may be your
tactical decision. I'm only commenting on what
the evidence demonstrates. But it's a little

incongruous or little disingenuous to me to
suggest that you are reviewing documents here and
you want Mr. Wadlington's assistance so you can go
to Clinton, yet the two of you are apart for some

apparently five or six hours. Again, I find that

 

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difficult to explain.

And further, what I guess is really
where I perhaps focused, is that as his attorney,
Mr. Goodman -- because you have really put
yourself on the line here with your professional
statement -- you of all people would be ina
position to tell Mr. Wadlington if you're
reviewing the documents what he should do, was he
to stay with you or whether he was to return to
Chicago. IT heard no evidence that suggests that
you told him to do anything. So apparently he
knew on his own to go to Clinton, because that's
what he did.

You indicated you had no way of
contacting him. You told the Court as soon as you
got out of the U.S. Attorney's Office, you paged
him and he called you back on the car phone. So
there was ample opportunity, it appears to me, for
you to have been in contact with Mr. Wadlington
during that three- or four-hour period when you
were reviewing the volumes of evidence or
discovery that was being turned over.

The bottom line is, I'm troubled
because I'm concerned, Mr. Goodman, that a lot of

this is turning on what you have apparently

 

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advised your client or (inaudible) facilitation.

I'm troubled by that. Because I don't find
anywhere in here that even in your company
Mr. Wadlington is supposed to be outside of
Davenport, Iowa, or the Northern District of
Illinois or I'll assume the most direct route back
to the Northern District of Illinois.

I've made it clear (inaudible) that
I wasn't interested and I wasn't interested in the
nature of the stop itself and what it produced,
and yet I do have to comment and agree with
Mr. Cronk I'm also somewhat concerned and a bit
mystified why it would take seven or eight people
to accompany Mr. Wadlington to a hearing in Iowa,
and I'm going to assume that some or all the
people, since he can't drive and has conceded
(inaudible) Chicago perhaps sometime around 3 or
3:15 a.m. that (inaudible).

Just a lot doesn't make sense here.
And to argue that his presence in Clinton, Iowa,
is not a violation of bond, I think, flies in the
face of the bond itself.

I'm not satisfied there's been any
evidence to show there's been an attempt by

Mr. Wadlington to interfere with witnesses,

 

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because again, that's not before the Court
(inaudible), but I'm satisfied that upon one
occasion, Mr. Wadlington has found it necessary on
his own to violate the terms of the bond, to go to
Clinton, Iowa, where this incident is alleged to
have occurred that everyone has recited to me, and
yet that seems to be (inaudible) and apparently on
at least one occasion, as I understand it,
certainly facilitated by (inaudible), which
troubles me.

I think there's some things that
could have been done in advance, should have been
done in advance to handle it, so I'm not satisfied
that the trip to Clinton was solely for the
purpose of assisting Counsel under the
circumstances.

I am also not satisfied each and
every instance when Mr. Wadlington has been in
Clinton since December 2, 1998, was appropriate.
Certainly it was in violation of his bond, and for
those reasons I am going to revoke the pretrial
release.

MR. GOODMAN: Your Honor, may I make
a comment?

THE COURT: You may.

 

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MR. GOODMAN: First of all, I would

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ask the Court to perhaps before -- I would ask the
Court to reconsider and perhaps look at the
transcript of the bond hearing, because in that
transcript you will see that Judge Denlow
specifically instructs the Defendant that one of
the conditions of his bond is to take care of the
state charges out of Clinton, Iowa.

And for your information, those
state charges are the exact same charges as count
whatever -- five -- of this indictment. He's
actually being tried in two jurisdictions for a

single alleged sale of cocaine that occurred in

December of 1996, in Clinton. He's had to hire
two attorneys -- an Iowa attorney, and he hired me
because he was arrested in Chicago -- to combat

those charges. His parents have had to pay a
great -- their entire pension to pay for attorneys
and now to pay for the attorney for his brother,
who has now been indicted -- and I believe I'm not
going to speak to the legitimacy of the charges
against the brother -- and that is another strain
on the family and another reason why it is so
important for me to have my client out so that we

can prepare a defense, and I don't believe I can

 

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defend these charges without him, without his

assistance.

And I would say if you look at the
transcript of that bond hearing, he was
specifically directed to take care of that matter
in Clinton. The only times he's been in Clinton
are when he went there to go to court in December
prior to coming to Davenport and he would also --
that is the time he had a court appearance in
Clinton and the Government concedes that he had a
court appearance. He was released from that court
appearance at 10:30. He had a 1:30 or some such a
date in Davenport, Iowa.

On his way, he apparently saw this
man, Sammy Walker, and there are some
circumstances we didn't get into as to why the car
broke down; there are some circumstances as to why
he ended up at that junk yard. He was not there
looking for Mark Thomas, and there was no evidence
he was. He had some time to kill between coming
to Clinton and coming to Davenport, Iowa, and
there was no evidence that he used that time
illegally or he had violated bond, but he
certainly had to drive from Clinton to Davenport

to get to court here.

 

 

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The only other time he's been in
Clinton, it's my understanding, and at my
direction to help me investigate the case, and
Your Honor is correct that I should have been more
clear with him and said, "You can't go sit there
and hang out waiting for me," but the fact is I
thought I was going to Mr. Cronk's office for a
20-, 30-minute meeting. I didn't realize I was
going to be there for four or five hours. Yes, I
should have left and called him and made some
arrangements, but I just didn't and that was my
poor judgment. I figured that Euka was just going
to go back, get in his car and go home.

And as far as I'm conflicted in
this, I feel responsible, but I just don't feel
there has to be some intentional violation of bond
conditions, and I don't believe they have shown
it, and I respect this Court's decision, but I
would ask you to reconsider, considering the
gravity of this situation and --

THE COURT: I have considered the
gravity, Mr. Goodman, and I would note, number
one, I'm also available to (inaudible) on a proper
motion. You're asking to reconsider on a

transcript that, number one, isn't in evidence in

 

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this matter and, number two, I suspect isn't even

available for me right now to review; is that
correct?

MR. GOODMAN: That's correct, Your
Honor. I have never ordered up the transcript of
the bond, but I certainly would be prepared to do
so at our expense.

THE COURT: I think if that's what
you want, you're going to have to do that. As I
said, I am willing and I am prepared to reconsider
on proper evidence.

But based on the evidence before me
now, and I think that to paraphrase again, to
characterize what transpired at this original
detention hearing is unfair, at least to this
Court, because I have no idea. Maybe (inaudible)
take care of the Iowa charges and I suspect he
might. It certainly could have been (inaudible).
You were there at the hearing, I presume. There's
nothing in this file that tells me what
Mr. Wadlington was supposed to do about the Iowa
charges other than remaining in Northern District
of Illinois or travel to Davenport, Iowa.

Now, that said, the transcript

(inaudible) but I would also take exception to the

 

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(inaudible) at Clinton at any time for anything

other than to handle matters which are still now
kind of out in hyperspace, because this Court has
nothing before it on the record. But as I'm sure
you're familiar with the term trespass ob initio
(phonetic), I think in this case Mr. Wadlington
may well -- and conceding may well have been in
Clinton on (inaudible) in 1998 for legitimate
purposes of handling a criminal matter, but I can
tell you that based upon Mr. Walker's testimony,
Which I have already characterized as being
(inaudible), I also know that based on that,
that's far beyond handling the criminal matter.

In that regard, I don't find
(inaudible) in Clinton to be proper or
appropriate, and I don't find the circumstances
and conduct on January 29th and January 30th, at
least as before me on this record, appropriate,
and that's the reason I found a violation of the
bond. I think there's some serious issues raised
here. I think there's some serious issues that
are raised as to whether the Defendant is, in
fact, adhering to his bond, and that's exactly why
I've ordered it revoked.

And you're free, pursuant to Rules

 

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of Criminal Procedure to move to reconsider. I

will consider that on the proper evidence. You're
also free to (inaudible) and you do that
(inaudible).

Is there anything further we need to
discuss at this time?

MR. CRONK: Nothing from the
Government.

THE COURT: We will be in recess,
and the Defendant will remain in custody of the
U.S. Marshall's Service.

(The hearing was concluded at

1:05 p.m., February 12, 1999.)

 

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CERTIFICATE OF SHORTHAND REPORTER

I, Beverly K. Bleigh, a Certified Shorthand
Reporter in and for the State of Iowa, hereby
certify that I transcribed from audiotape the
proceedings in the trial; and that the above and
foregoing computer-aided transcript is a full,
true and complete translation and transcript of
the evidence recorded on audiotape at the trial,
and contains the full, true and complete report of
the evidence offered or introduced, all objections
of counsel, all rulings of the Court, to the best

of my ability from the audiotape.

Dated this 22nd day of February, 1999.

Yarsuetly L Bltrigh

Beverly K. Bleigh

Certified Shorthand Reporter
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